Case 21-21068-CMB           Doc 27 Filed 07/27/21 Entered 07/27/21 08:54:10                        Desc File
                            Amended Plan with Prompt Page 1 of 1
 Form 005
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In re:
                                                            Bankruptcy Case No.: 21−21068−CMB
 Lee A. Mendlowitz                                          Chapter: 13
 dba Lee Mendlowitz Trucking, dba Bell Bridge Auto Wreckers Related to Document No.: 26
   Debtor(s)                                                Concil. Conf.: October 28, 2021 at 10:30 AM


                                                  ORDER



          On July 26, 2021, a hearing was conducted on theChapter 13 Plan Dated June 28, 2021, at
 which time the Chapter 12/13 Trustee recommended that an Amended Plan is necessary.

       AND NOW, this The 27th of July, 2021, it is hereby ORDERED, ADJUDGED and
 DECREED that:

          (1) On or before September 10, 2021, the Debtor(s) shall file and serve a copy of this
 Order and an Amended Plan on the Chapter 13 Trustee and all Parties listed on the Current Official
 Mailing Matrix. The Debtor(s) shall also complete and file the accompanying Certificate of Service.

          (2) On or before October 1, 2021, all Objections to the Amended Plan must be filed and
 served on the Debtor(s), Chapter 13 Trustee, and any creditor whose claim is the subject of the
 Objection. Untimely objections will not be considered.

        (3) On October 28, 2021 at 10:30 AM , a Conciliation Conference on the Debtor(s)'
 Amended Plan is scheduled in the remotely by the Trustee via Zoom, how to participate:goto
 www.ch13pitt.com, meetings@chapter13trusteewdpa.com.

           (4) If the Parties cannot resolve all disputes at the Conciliation Conference, a hearing will
 be scheduled and orally announced at the conclusion of the conference without any further written
 notice to any party. Parties are directed to monitor the Court's docket and read the Chapter 13
 Trustee's minutes of the Conciliation Conference to the extent such parties desire more information
 regarding the outcome of the Conciliation Conference.

          (5) Failure to timely file an Amended Plan and Certificate of Service shall result in the
 imposition of sanctions, which may include dismissal or conversion of the case, an order of contempt,
 monetary sanctions or other remedial measures.

            (6)

 Dated: July 27, 2021

  cm: Debtor
      Debtor's Counsel
